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 9
10                         UNITED STATES DISTRICT COURT

11                      SOUTHERN DISTRICT OF CALIFORNIA
12    UNITED STATES OF AMERICA,                Case No.: _20-MJ-1729-MSB
13                Plaintiff,
                                               THE UNITED STATES’ MOTION FOR
14          v.                                 AN ORDER EXTENDING TIME TO
                                               FILE AN INFORMATION OR
15                                             INDICTMENT AND EXCLUDING
      BRANDON FARGASON,                        TIME PURSUANT TO
16                                             18 U.S.C. § 3161(h)(7)(A)
                  Defendant.
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18
19                                               I

20                                     INTRODUCTION

21         The United States ordinarily must file an information or indictment within 30 days

22 of arrest. 18 U.S.C. § 3161(b). However, a court may extend that deadline if it sets forth
23 reasons for finding “that the ends of justice served by taking such action outweigh the best
24 interest of the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). For
25 the reasons discussed herein, the United States respectfully requests the Court make such
26 findings in this case and extend the time for the filing of an information or indictment to
27 June 12, 2020.
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 1                                                II
 2                                     APPLICABLE LAW
 3         The United States ordinarily must file an information or indictment “within thirty
 4 days” of arrest. 18 U.S.C. § 3161(b). If “no grand jury has been in session” in the district
 5 in the 30 days following the arrest, § 3161(b) provides a 30-day extension of the time to
 6 file an information or indictment. However, certain periods of delay are “excluded from
 7 computing the time within which an information or indictment must be filed,” including:
 8               Any period of delay resulting from a continuance granted by any
 9               judge . . . at the request of the attorney for the Government, if the
                 judge granted such continuance on the basis of his findings that
10               the ends of justice served by taking such action outweigh the best
11               interest of the public and the defendant in a speedy trial.
12
     18 U.S.C. § 3161(h)(7)(A). The statute identifies four “factors” judges are to consider
13
     when making such a finding, including:
14
                 (i) Whether the failure to grant such a continuance in the
15               proceeding would be likely to make a continuation of such
16               proceeding impossible, or result in a miscarriage of justice.
17               (iii) Whether, in a case in which arrest precedes indictment,
18               delay in the filing of the indictment is caused because the arrest
                 occurs at a time such that it is unreasonable to expect return and
19               filing of the indictment within the period specified in section
20               3161(b)[.]

21 18 U.S.C. § 3161(h)(7)(B).
22                                               III
23                                          ANALYSIS
24         Defendant Brandon Fargason (“Defendant”) was arrested on May 6, 2020, and
25 subsequently charged in a felony complaint. ECF No. 1. Without an extension, June 5,
26 2020 was the last day to file an Information or Indictment under § 3161(b). The United
27 States has not filed an Information because Defendant has not waived his right to proceed
28 by way of indictment.

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 1         On March 17, 2020, the Chief Judge of the Southern District of California entered
 2 an Order suspending jury trials and other proceedings scheduled to begin before April 16.
 3 In light of the public health restrictions outlined in the Order, and in order to protect public
 4 safety and prevent the spread of the COVID-19 outbreak, the Court declared a judicial
 5 emergency and suspended “all grand jury proceedings.” The Chief Judge subsequently
 6 extended that Order by 30 days to May 16, 2020, in Order of the Chief Judge No. 24. On
 7 May 15, 2020, the Chief Judge extended the judicial emergency a second time by another
 8 30 days in Order of the Chief Judge No. 27, but the Order lifted the suspension on grand
 9 jury proceedings.1
10         Thus, no grand jury was in session in the District in the first 14 days following
11 Defendant’s arrest. In fact, “[a]ll grand jury proceedings” in the District were suspended
12 pursuant to the Orders of the Chief Judge. During the period of the judicial emergency, a
13 voluminous number of cases have been filed – most with defendants being issued Notices
14 to Appear for a later date, but some in which defendants were taken into custody. On May
15 20, 2020, a grand jury was in session for a half-day. Since that time, grand juries have met
16 for half-days on May 27, May 29, June 2, June 3 and June 4. Given the large number of
17 cases pending indictment and the inability to present them all at once, the United States
18 prioritized presentation of cases to the various grand jury panels based on the applicable
19 30-day or 60-day limit under § 3161(b).
20         This case was scheduled to be presented to the grand jury on Friday, June 5, 2020,
21 which was within the limitation for an Indictment or Information to be filed.
22 Unfortunately, the panel was unable to achieve a quorum, and this case could not be
23 presented. There will not be another grand jury in session before the deadline to file an
24
25        See Order of the Chief Judge No. 18, available at <https://www.casd.uscourts.
           1


   gov/_assets/pdf/rules/Order %20of%20the%20Chief%20Judge%2018.pdf>; Order of
26 the Chief Judge No. 24, available at <https://www.casd.uscourts.gov/_assets/pdf/
27 rules/Order%20of%20the%20Chief%20Judge%2024.pdf>; Order of the Chief Judge
   No. 27 <https://www.casd.uscourts.gov/_assets/pdf/rules/Order%20of%20the%20
28 Chief%20Judge%2027.pdf>.

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 1 Information or Indictment in this case elapses. However, the United States anticipates that
 2 grand jury panels will meet on June 9, June 10, June 11, and June 12 and will present this
 3 case to one of those panels, after taking into account other cases that must be presented to
 4 comply with the restrictions of § 3161(b).
 5          Based on these facts, the United States submits that the failure to grant the requested
 6 continuance in this case would “make a continuation of [this] proceeding impossible, or
 7 result in a miscarriage of justice” under § 3161(h)(7)(B)(i). See 18 U.S.C. § 3162(a)
 8 (remedy for failure to file indictment or information within time limits is dismissal); United
 9 States v. Barraza-Lopez, 659 F.3d 1216, 1218 (9th Cir. 2011) (same). Additionally, the
10 facts above make clear that any delay in this case “in the filing of the indictment is caused
11 because the arrest occur[red] at a time such that it is unreasonable to expect return and
12 filing of the indictment within the period specified in section 3161(b).” 18 U.S.C. §
13 3161(h)(7)(B)(iii). Specifically, because all grand jury proceedings in the District had been
14 suspended for over two months due to a judicial emergency caused by a global health
15 pandemic, because the Government has had to prioritize the presentation of all cases filed
16 during that period since the resumption of grand jury proceedings, and because the grand
17 jury panel to which this case was scheduled to be presented was unable to achieve a quorum
18 without prior notice to the United States, it is unreasonable to expect the United States to
19 file an Indictment within the ordinary window provided in § 3161(b). See also Order of
20 the Chief Judge No. 18 (explaining “The effect of [the COVID-19] public health
21 recommendations and the concerns and restrictions that they have generated has greatly
22 jeopardized the Court’s ability to obtain an adequate spectrum of trial and grand jurors”).
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 1
                                                 IV
 2
                                         CONCLUSION
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           The United States respectfully requests the Court extend the time for the filing of an
 4
     Information or Indictment to June 12, 2020 and exclude the time from June 5, 2020 to June
 5
     12, 2020 under 18 U.S.C. § 3161(h)(7)(A).
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     DATED: June 8, 2020                                 Respectfully submitted,
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 9                                                       United States Attorney
10                                                       /s/ Nicholas J. Hernandez
11                                                       Nicholas J. Hernandez
                                                         Assistant United States Attorney
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